        Case 1:19-cr-10080-NMG Document 568 Filed 09/19/19 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )                       Criminal No. 19-10080-NMG
                                    )
DAVID SIDOO, et al                  )
            Defendants              )
                                    )
___________________________________ )

    DEFENDANT ROBERT ZANGRILLO’S NOTICE REGARDING MOTION TO
   PERMIT SPECIFIC AND LIMITED INTERNATIONAL BUSINESS TRAVEL TO
                     SINGAPORE/THAILAND/LAOS

       Now comes the defendant Robert Zangrillo, by and through undersigned counsel, and

hereby respectfully notifies this Honorable Court that the Court-approved international travel to

Singapore/Thailand/Laos will not occur on September 19-29 as initially requested and approved,

see Dkt. 553 and 555, due to a need to reschedule certain of the conferences. A new motion will

be filed seeking future permission when the trip again becomes necessary.


                                                     Respectfully submitted,

                                                     Robert Zangrillo
                                                     By his Attorney,

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg
                                                     Mass. Bar No. 519480
                                                     20 Park Plaza, Suite 1000
                                                     Boston, MA 02116
                                                     (617) 227-3700
                                                     owlmgw@att.net

Dated: September 19, 2019

                                            1
        Case 1:19-cr-10080-NMG Document 568 Filed 09/19/19 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, September 19, 2019, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.

                                                    /s/ Martin G. Weinberg
                                                    Martin G. Weinberg




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